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                                                                             FILED
                                                                               SEP 2 5 2017
                                                                            Clerk, U.S. District Court
               IN THE UNITED STATES DISTRICT COURT                            District Of Montana
                                                                                     Billings
                   FOR THE DISTRICT OF MONTANA
                         BILLINGS DIVISION

UNITED STATES OF AMERICA,                      Case No. CR-06-16-BLG-SPW

                Plaintiff,

vs.                                           ORDER ALLOWING FILING OF
                                                DOCUMENT UNDER SEAL
JASON MCCALISTER,

               Defendant.


      Upon Defendant's Motion to File Document Under Seal (Doc. 881 ), and good

cause appeanng,

      IT IS HEREBY ORDERED that the Psychological Evaluation is filed under

seal for viewing only by the Court, Assistant United States Attorney, and defense

counsel.

      The Clerk of the Court is directed to notify counsel of the making of this Order.
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      DATED this      c<V    day of September, 2017.




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